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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                      CASE NO. 8:09CR05-EAK-EAJ

NERY CAMPAZ-GUERRERO

                                             /
                                                 ORDER


         This cause comes before the Court on notice from the Office of the Federal Defender that
it has satisfied the requirements set forth in the Court’s Omnibus Order In Re: Amendment 782,
United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus Order”), and notification
that the office will not be filing a Motion for Sentence Reduction under Amendment 782 on
behalf of Defendant Campaz-Guerrero as to the retroactive application of revised sentencing
guidelines (Doc. 188). The Defendant in this case has filed his own motion and memorandum in
support of reduction in sentence under Amendment 782. The Court will allow the Defendant to
file an update to the motion requesting a reduction before it determines the matter. Accordingly,
it is.
         ORDERED that defendant has up to and including August 10, 2015 to file a motion and
memorandum in support of his contention that his sentence should be reduced. The government
is directed to file a response to any filings within fifteen days of the date of filing The Court will
rule on the issue as soon as possible after that date.


         DONE AND ORDERED in Chambers in Tampa, Florida this 9th day of June, 2015.
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Copies furnished to: All Counsel of Record
